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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

TAMARA JEAN FARRELL-SHANLEY,         )
an individual,                       )
                                     )             CASE NO.:
            Plaintiff,               )
vs.                                  )
                                     )
REKLAW, L.L.C.,                      )
a Georgia Limited Liability Company, )
                                     )
and                                  )
                                     )
ARTHUR W. WALKER,                    )
an Individual,                       )
                                     )
            Defendants.              )
___________________________________/ )

                                  COMPLAINT

      Plaintiff, TAMARA JEAN FARRELL-SHANLEY, through her undersigned

counsel, hereby files this Complaint and sues REKLAW, L.L.C., a Georgia

Limited Liability Company and ARTHUR W. WALKER, an Individual, for

injunctive relief, attorney’s fees and costs pursuant to 42 U.S.C. § 12181 et. seq.,

(“AMERICANS WITH DISABILITIES ACT” or “ADA”) and allege:

                        JURISDICTION AND PARTIES




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      1.      This is an action for declaratory and injunctive relief pursuant to Title

III of the Americans with Disabilities Act, 42 U.S.C. § 12181, et. seq., (hereinafter

referred to as the “ADA”). This Court is vested with original jurisdiction pursuant

to 28 U.S.C. §§ 1331 and 1343.

      2.      Venue is proper in this Court pursuant to 28 U.S.C. §1391(b) and

Rule 3.1, Local Rules of the United States District Court for the Northern District

of Georgia.

      3.      Plaintiff, TAMARA JEAN FARRELL-SHANLEY, (hereinafter

referred to as “MRS. FARRELL-SHANLEY”), is a resident of Henry County,

Georgia.

      4.      MRS. FARRELL-SHANLEY is disabled and suffers from Congenital

Spastic Cerebral Palsy Diplegia. She requires the use of either a special cane or a

wheelchair as her primary means of mobility.

      5.      Due to her disability, MRS. FARRELL-SHANLEY is substantially

impaired in several major life activities, including walking.

      6.      Defendant REKLAW, L.L.C., a Georgia Limited Liability Company

(hereinafter referred to as “DEFENDANT”), is registered to do business in the

State of Georgia. Upon information and belief, DEFENDANT is the owner and/or



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operator of a portion of the real property and improvements which are the subject

of this action, to wit: the Property, known as Citi Center, located at 2685

Metropolitan Parkway SW, Atlanta, Georgia 30315 at Parcel ID:14 0101 LL0430.

      7.      Defendant ARTHUR W. WALKER, an Individual, (hereinafter

referred to as “WALKER”), is the owner and/or operator of a portion of the real

property and improvements which are the subject of this action, to wit: the

Property, known as Citi Center, located at 2685 Stewart Ave SW, Atlanta, Georgia

30315 at Parcel ID: 14 0101 LL0422. The two parcels which compromise the City

Center are collectively referenced herein as the “Property”.

      8.      All events giving rise to this lawsuit occurred in the Northern District

of Georgia, Fulton County, Georgia.

                   COUNT I - VIOLATION OF TITLE III OF THE
                     AMERICANS WITH DISABILITIES ACT

      9.      Plaintiff realleges and incorporates into this cause of action each and

every allegation contained in the previous paragraphs of this Complaint.

      10.     The Property, a large shopping center, is open to the public and

provides goods and services to the public.

      11.     MRS. FARRELL-SHANLEY has visited the Property and attempted

to utilize the goods and services offered at the Property.

      12.     While at the Property, MRS. FARRELL-SHANLEY experienced


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serious difficulty accessing the goods and utilizing the services therein due to the

architectural barriers discussed herein.

      13.     MRS. FARRELL-SHANLEY continues to desire to visit the Property,

but fears that she will continue to experience serious difficulty due to the barriers

discussed herein, which still exist.

      14.     MRS. FARRELL-SHANLEY plans to and will visit the property in

the near future to utilize the goods and services offered thereon. However, but for

the barriers to access located at the Defendants’ Property, Plaintiff would visit

more often.

      15.     Defendants are in violation of 42 U.S.C. § 12181 et. seq. and 28

C.F.R. § 36.304 et. seq. and are discriminating against the Plaintiff due to

Defendants’ failure to provide and/or correct, inter alia, the following architectural

barriers which hindered Plaintiff’s access throughout the Defendants’ Property:

              At Parcel ID: 14 0101 LL0422

              A.    Plaintiff encountered inaccessible parking in this section of the

      Property due to an inadequate number of disabled use parking spaces

      provided for the total number of standard parking available.

              B.    Plaintiff encountered inaccessible parking in this section of the

      Property due to a lack of and/or severely faded access aisle adjacent to the

      disabled use parking space provided adjacent to the building. Additionally,

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the disabled parking space contains excessive slopes and pavement defects

making it difficult for Plaintiff to safely load and unload from a vehicle in

this parking space.

      C.     Plaintiff encountered inaccessible tenant entrances to the stores

in this section of the Property due to sidewalks with excessive slopes and

high door thresholds causing excessive vertical changes in level. This made

it difficult for Plaintiff to gain access to the stores in this section of the

Property.

      At Parcel ID: 14 0101 LL0430

      A.     Plaintiff encountered inaccessible parking in this section of the

Property due to a lack of access aisles adjacent to several of the disabled use

parking spaces provided, other disabled use parking spaces which had

irregularly shaped access aisles and some access aisles which were

obstructed by shopping cart return cages. This made it difficult for Plaintiff

to safely load and unload from a vehicle in these parking spaces.

      B.     Additionally, many of the disabled parking spaces contain

excessive slopes and pavement defects making it difficult for Plaintiff to

safely load and unload from a vehicle in these parking spaces.

      C.     Furthermore, the disabled use parking near the American Deli

includes a severely faded and confusing access aisle which is generally

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      blocked by parked vehicles. This space also obstructs the curb ramp which

      is located at the front of the aisle.

             C.     Plaintiff encountered inaccessible curb ramps throughout the

      Property due to uneven surfaces, excessive running slopes, steep side flares

      and disrepair.     These conditions made it more difficult for Plaintiff to

      maneuver throughout the Property.

      16.    Defendants either do not have a policy to assist people with

disabilities or refuses to enforce such a policy if it does exist.

      17.    Independent of her intent to return as a patron to the Property,

Plaintiff additionally intends to return to the Property as an ADA tester to

determine whether the barriers to access stated herein have been remedied.

      18.    Removal of the barriers to access located on the Property is readily

achievable, reasonably feasible and easily accomplishable without placing an

undue burden on Defendants.

      19.    Removal of the barriers to access located on the Property would allow

Plaintiff to fully utilize the goods and services located therein.

      20.    The Plaintiff has been obligated to retain undersigned counsel for the

filing and prosecution of this action. Plaintiff is entitled to have her reasonable

attorney’s fees, costs, and litigation expenses paid by Defendants.

      WHEREFORE, the Plaintiff demands judgment against REKLAW, L.L.C.

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and ARTHUR W. WALKER and requests the following injunctive and declaratory

relief:

             A.    That the Court declares that the Property owned and

                   operated by DEFENDANTS are in violation of the ADA;

             B.    That the Court enter an Order directing DEFENDANTS

                   to alter its property to make it accessible and useable by

                   individuals with disabilities to the full extent required by

                   Title III of the ADA;

             C.    That the Court enter an Order directing DEFENDANTS

                   to evaluate and neutralize its policies and procedures

                   towards persons with disabilities for such reasonable time

                   so as to allow DEFENDANTS to undertake and complete

                   corrective procedures;

             D.    That the Court award reasonable attorney’s fees, costs

                   (including expert fees), and other expenses of suit, to the

                   Plaintiff; and

             E.    That the Court award such other and further relief as it

                   deems necessary, just and proper.

                                Respectfully Submitted,

                                KU & MUSSMAN, P.A.
                                18501 Pines Blvd, Suite 209-A
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                     By: /s/ John A. Moore       .




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